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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

ANDY RODRIGUEZ,

         Plaintiff,                                Case No.:
v.

COMMONWEALTH FIANCIAL SYSTEMS, INC.,

         Defendant.
                                              /

                                NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant, Commonwealth

Financial Systems, Inc. (Commonwealth), through counsel, hereby removes the above-

captioned civil action from the County Court of the Twentieth Judicial Circuit, in and for

Lee County, Florida, to the United States District Court for the Middle District of Florida,

Fort Myers Division. The removal of this civil case is proper because:

         1.     Commonwealth Financial Systems, Inc. (Commonwealth) is the defendant

in this civil action filed by plaintiff, Andy Rodriguez (plaintiff), in the County Court of the

Twentieth Judicial Circuit, in and for Lee County, Florida, titled Andy Rodriguez v.

Commonwealth Financial Systems, Inc. Case No. 21CC-002740 (hereinafter the “State

Court Action”).

         2.     Defendant removes this case on the basis of the Fair Debt Collection

Practices Act (FDCPA), 15 U.S.C. § 1692, et seq., as plaintiff’s Complaint claims relief

based on abusive practices in violation of federal law.



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      3.     Pursuant to 28 U.S.C. § 1446(b), Defendant has timely filed this Notice of

Removal. Defendant was served with plaintiff’s Complaint on June 4, 2021. This Notice

of Removal is filed within 30 days of receipt of the Complaint by Defendant.

      4.     Attached hereto as Exhibit 1 and incorporated by reference as part of the

Notice of Removal are true and correct copies of the process and pleadings in the State

Court Action. No further proceedings have taken place in the State Court Action.

      6.     A copy of this Notice of Removal is being served upon plaintiff and filed

concurrently with the County Court of the Twentieth Judicial Circuit, in and for Lee

County, Florida.

      WHEREFORE, Defendant, Commonwealth Financial Systems, Inc., hereby

removes to this Court the State Court Action.

Date: July 6, 2021                       Respectfully Submitted,


                                          /s/ Ashley Wydro
                                         Ashley Wydro, Esq.
                                         Florida Bar No. 0106605
                                         Dayle M. Van Hoose, Esq.
                                         Florida Bar No. 0016277
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                                         dvanhoose@sessions.legal

                                         Counsel for Defendant,          Commonwealth
                                         Financial Systems, Inc

                            CERTIFICATE OF SERVICE



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       I HEREBY CERTIFY that on the 6th day of July 2021, a copy of the foregoing was

sent via email to:

                                 Jibrael S. Hindi, Esq.
                                 Thomas J. Patti, Esq.
                         The Law Offices of Jibrael S. Hindi
                            110 SE 6th Street, Suite 1744
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                                       /s/ Ashley Wydro
                                       Attorney




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